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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
JENISA ANGELES, on behalf of herself and                               :
all others similarly situated,                                         :
                                                                       :
                              Plaintiffs,                              :      Index No.:1:20-cv-7084
                                                                       :
                                    v.                                 :
PEEK A BOO USA, INC.                                                   :
                                                                       :
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                   NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

          IT IS HEREBY STIPULATED AND AGREED TO by the Plaintiff and Plaintiff’s

attorney, that whereas no party hereto is an infant, incompetent person for whom a committee

has been appointed or conservatee, and no person not a party has an interest in the subject matter

of the action, that the above entitled action against Defendant shall be and hereby is dismissed

with prejudice and on the merits, without costs, or disbursements, or attorney’s fees to any party

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and that judgment of

dismissal with prejudice may be entered in the above entitled action pursuant hereto.



Dated: December 22, 2020                                                   Respectfully Submitted,

                                                                           /s/ Mark Rozenberg
                                                                           Mark Rozenberg
                                                                           Stein Saks, PLLC
                                                                           285 Passaic Street
                                                                           Hackensack, NJ 07601
                                                                           mrozenberg@steinsakslegal.com
                                                                           Tel. 201-282-6500
                                                                           Attorneys for Plaintiff
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                                       Certificate of Service

        I hereby certify that on this date, I electronically filed this Notice of Voluntary Dismissal
using the CM/ECF system which will automatically send email notification of such filing to all
attorneys of record.


       This 22nd day of December, 2020                Respectfully Submitted,

                                                      /s/ Mark Rozenberg
                                                      Mark Rozenberg, Esq.
